                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:09-00262
                                          )       JUDGE CAMPBELL
DARYL BORNSTEIN                           )


                                          ORDER


      Pending before the Court is a Motion for Leave to Late File Defendant’s Objections to

the Presentence Report (Docket No. 181). The Motion is GRANTED.

      IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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